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16
                                  IN THE UNITED STATES DISTRICT COURT
17
                      IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                        SAN FRANCISCO DIVISION
19
20
     THE UNITED STATES OF AMERICA,                    )   Case No.: 20-CR-00249-RS-SK
21                                                    )
                     Plaintiff,                       )   ORDER FOR TRANSPORTATION
22                                                    )   EXPENSES PURSUANT TO 18 U.S.C. §
            vs.                                       )
                                                      )   4285
23
     ROWLAND MARCUS ANDRADE,                          )
24                                                    )
                     Defendant.                       )
25                                                    )
                                                      )
26                                                    )

27          The Court having jurisdiction over Defendant Rowland Marcus Andrade in the United
28   States District Court for the Northern District of California in the above-entitled case, and


                  ORDER FOR TRANSPORTATION EXPENSES PURSUANT TO 18 U.S.C. § 4285
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1    finding that the defendant has been released from custody and is financially unable to provide the
2    necessary transportation to appear before the above court,
3           IT IS ORDERED that the defendant appear before the above-named Court on January 22,
4    2025, and again on February 10, 2025.
5           It is FURTHER ORDERED that the United States Marshal shall:
6           1) Transport the defendant from the Southern District of Texas to the Northern District
7    of Texas, in the form of:
8                   A) Arrange noncustodial transportation to appear before the required Court;
9           OR, at the option of the U.S. Marshall,
10                  B) Furnish to the defendant the one-way fare necessary for for transportation to
11   the required Court.
12          AND
13          2) Providing the defendant with an amount for subsistence expense to the destination,
14   not to exceed the amount authorized by 5 U.S.C. § 5702(a).
15   DATED: January 16, 2025
16                                        _________________________________
                                          Hon. SALLIE KIM
17
                                          United States Magistrate Judge
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               ORDER FOR TRANSPORTATION EXPENSES PURSUANT TO 18 U.S.C. § 4285
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